        Case 1:25-cv-00716-BAH             Document 21        Filed 03/12/25     Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                         Plaintiff,
                                                              Civil Action No. 25-716 (BAH)
                         v.
                                                              Judge Beryl A. Howell
 U.S. DEPARTMENT OF JUSTICE, et al.,

                         Defendants.

                                                ORDER

        Upon consideration of plaintiff Perkins Coie LLP’s Motion for a Temporary Restraining

Order (“TRO”), ECF No. 2; the memoranda, declarations, and exhibits submitted in support; and

the arguments in support and in opposition presented at the expedited TRO hearing held on

March 12, 2025, for the reasons explained orally at the hearing, it is hereby:

        ORDERED that plaintiff’s Motion for a Temporary Restraining Order, ECF No. 2, is

GRANTED; it is further

        ORDERED that defendants are ENJOINED from implementing or enforcing Sections

1, 3, and 5 of Executive Order 14230, 90 Fed. Reg. 11781 (Mar. 11, 2025), issued by the

President on March 6, 2025, entitled “Addressing Risks from Perkins Coie LLP”; it is further

        ORDERED that defendants are ENJOINED from using the statements laid out in

Section 1 of Executive Order 14230 in any interactions with plaintiff or plaintiff’s clients, or

employee of plaintiff or plaintiff’s clients; it is further

        ORDERED that defendants are DIRECTED to suspend and rescind all guidance or

other direction provided to their officers, staff, employees, or contractors to communicate,

effectuate, implement, or enforce Sections 1, 3, and 5 of Executive Order 14230; it is further


                                                        1
        Case 1:25-cv-00716-BAH            Document 21        Filed 03/12/25       Page 2 of 3




        ORDERED that defendants are DIRECTED immediately to issue guidance to their

officers, staff, employees, and contractors to disregard Sections 1, 3, and 5 of Executive Order

14230, and to carry on with their ordinary course of business absent these sections of the

Executive Order; it is further

        ORDERED that defendants are DIRECTED immediately to (1) communicate to every

recipient of a request for disclosure of any relationship with Perkins Coie LLP or any person

associated with the firm, made pursuant to Section 3(a) of Executive Order 14230, that such

request is rescinded until further order of the Court; and (2) cease making such requests for

disclosure, pursuant to Section 3(a) of Executive Order 14230, until further order of the Court; it

is further

        ORDERED that defendants must, in good faith, take such other steps as are necessary to

prevent the implementation or enforcement of Sections 1, 3, and 5 of Executive Order 14230

during the effective period of this Order, until further order of the Court; it is further

        ORDERED that defendants U.S. Department of Justice; Pamela Bondi, in her official

capacity as U.S. Attorney General; the Office of Management and Budget; and Russell Vought,

in his official capacity as Director of the Office of Management and Budget, must additionally

immediately issue guidance to all other agencies subject to Executive Order 14230 to suspend

and rescind any implementation or enforcement of Sections 1, 3, and 5 of the Executive Order,

including any reliance on the statements in Section 1 of the Order; it is further

        ORDERED that the parties shall file, by 4:00 PM on March 13, 2025, a joint status

report proposing a schedule to govern further proceedings in this case; it is further




                                                       2
        Case 1:25-cv-00716-BAH         Document 21       Filed 03/12/25     Page 3 of 3




        ORDERED that defendants shall file a status report by Friday, March 14, 2025,

describing the steps taken to ensure compliance with this Order and certifying compliance with

its requirements; and it is further

        ORDERED that this Order shall remain in effect until further order of this Court.

        SO ORDERED.

        Date: March 12, 2025


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                                                    BERYL A. HOWELL
                                                    United States District Judge




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